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 4                              UNITED STATES DISTRICT COURT
 5                             CENTRAL DISTRICT OF CALIFORNIA
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       EMPYREAL ENTERPRISES, LLC,                Case No. 5:22-cv-00094-FWS-SHK
 7     d/b/a EMPYREAL LOGISTICS
                                                 ORDER DISMISSING SHERIFF WITH
 8                                               PREJUDICE
 9                       Plaintiff,
                                                 Honorable District Court Judge
10                                               Fred W. Slaughter
11                        v.                     Honorable Magistrate Judge
                                                 Shashi H. Kewalramani
12
       The United States of America; the
13     U.S. Department of Justice; Attorney
       General MERRICK GARLAND, in
14
       his official capacity; the Federal
15     Bureau of Investigation;
       CHRISTOPHER A. WRAY, Director
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       of the Federal Bureau of Investigation,
17     in his official capacity; KRISTI
       KOONS JOHNSON, Assistant
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       Director of the Federal Bureau of
19     Investigation overseeing the FBI’s Los
       Angeles Field Office, in her official
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       capacity; the Drug Enforcement
21     Administration; ANNE MILGRAM,
22
       Administrator of the Drug
       Enforcement Administration, in her
23     official capacity; SHANNON D.
24
       DICUS, San Bernardino County
       Sheriff-Coroner, in his official
25     capacity as the head of the San
26
       Bernardino County Sheriff’s Office.

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                         Defendants.
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                                              1
                           ORDER DISMISSING SHERIFF WITH PREJUDICE
     Case 5:22-cv-00094-FWS-SHK Document 81 Filed 05/06/22 Page 2 of 2 Page ID #:934




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 3          In light of the parties’ stipulation, IT IS HEREBY ORDERED that the above-
 4    captioned action is dismissed with prejudice against Defendant Shannon D. Dicus, San
 5    Bernardino County Sheriff-Coroner, in his official capacity as the head of the San
 6    Bernardino County Sheriff’s Office, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules
 7    of Civil Procedure, each side to bear its own costs, fees, and expenses. The Court’s entry
 8    of the order disposes of the entire action.
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10    DATED: May 6, 2022
11                                            FRED W, SLAUGHTER
                                              UNITED STATES DISTRICT JUDGE
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                            ORDER DISMISSING SHERIFF WITH PREJUDICE
